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6
7                          UNITED STATES DISTRICT COURT
8                       SOUTHERN DISTRICT OF CALIFORNIA
9
10   UNITED STATES OF AMERICA,                  CASE NO.: 06cr0590-H-03
11                      Plaintiff,
                                                NOTICE OF ATTORNEY
12         v.                                   APPEARANCE
13   BENEDICTA ARREOLA,
14                       Defendant.
15
16         Pursuant to the CM/ECF procedures in the United States District Court for
17   the Southern District of California, Katie M. Hurrelbrink, Federal Defenders of San
18   Diego, Inc., hereby gives notice that she is lead counsel in the above-captioned case.
19                                         Respectfully submitted,
20
21    Dated: July 12, 2021                 s/ Katie M. Hurrelbrink
                                           Katie M. Hurrelbrink
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